                           Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 1 of 30




          Claim Chart for U.S. Patent 8,495,167 - “Data communications networks, systems, methods and apparatus”



 Claim
                       ‘167 Patent                                                      Netflix
Portion

Claim 1

[1a]       A data communication network            Netflix uses a system called Open Connect to deliver Netflix TV shows and
           comprising: a plurality of terminals;   movies to members world-wide.
           and
                                                   The building blocks of Open Connect are our suite of purpose-built server
                                                   appliances, called Open Connect Appliances (OCAs). See Open Connect
                                                   Overview, p. 2. These are deployed directly inside ISP networks. Netflix provides
                                                   the server hardware.




                                                                  1
                       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 2 of 30




                                                  Source: https://openconnect.netflix.com/en/#sample-architectures

[1b]   a main server adapted to manage            Netflix runs the operation of Open Connect from an application in AWS (main
       selective retrieval of data from a first   server). When a Netflix user requests playback of a TV show or movie, the AWS
       server by at least one target terminal     application selectively retrieves data from the user device to send content
       selected from said plurality of            through an internet service provider (ISP). See Open Connect Overview, p. 4-5.
       terminals, said main server being
       distinct from said first server; and




                                                                 2
                     Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 3 of 30




[1c]   a network information database    We constantly measure and analyze [OCA] performance and augment capacity as
       containing terminal performance   requirements evolve. See Open Connect Overview, p. 3.
       information, wherein
                                         All OCA deployments are constantly monitored by the Open Connect Operations
                                         team to ensure reliability and efficiency. We troubleshoot and proactively fix most
                                         issues remotely with minimal input required from our ISP partners. See Open
                                         Connect Overview, p. 5.



                                                        3
                       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 4 of 30




                                                 Additionally, OCAs periodically report health. Id. at 4.




[1d]   at least two of said terminals are        URLs of appropriate OCAs (relay servers) are given to the client device. The
       adapted to act as relay servers for       OCAs serve the requested files (Netflix content delivered through ISP) to the
       serving data retrieved from said first    client device.
       server to at least one target terminal;
       and wherein




                                                                 4
                       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 5 of 30




[1e]   the main server is adapted to send        All OCA deployments are constantly monitored to ensure reliability and
       transport requests direct to at least     efficiency. Netflix makes use of non-peak bandwidth to download the vast
       one first target terminal on the basis    majority of content updates to the OCAs in network during these
       of said terminal performance              configurable time windows. OCAs can also download updates from each
       information, and wherein the main         other – minimizing significant usage of internet “backbone” capacity during
       server is further adapted to monitor      the update cycle.
       response times of terminals in the
       network and in which terminals are        Netflix also employs multiple failover scenarios where data transfer changes
       selected to act as relay servers for a    depending on response time of terminals. Further, Netflix can serve traffic directly
       particular data transfers on the basis    to a user device.
       of their relative response times, and
       the first target terminal is adapted to   Source: https://openconnect.netflix.com/en/#sample-architectures
       act as relay server; and




                                                                 5
                       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 6 of 30




[1f]   wherein each such transport request       Netflix sends URLs corresponding to the server from which data is requested by
       includes details of data to be            the user device along with other data such as specific files, client characteristics,
       retrieved, the address of the first       and network conditions. In setups with multiple OCAs embedded in one ISP
       server from which the data is to be       partner, data can be sent from one OCA to another in the event of an update or
       requested by the first target terminal,   when traffic needs to be re-routed and served from one of the two OCAs because
       the addresses of at least one second      of performance of the network such as when an OCA goes down.
       target terminal to which the data
       from the first server to be relayed by
       the first target terminal and an
       indication of a relative performance


                                                                 6
                       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 7 of 30




       of a further target terminal based on
       the terminal performance
       information stored in the network
       information database; and




[1g]   wherein terminals adapted to act as     OCAs can also download updates from each other – minimizing significant usage
       relay servers are adapted to modify     of internet “backbone” capacity during the update cycle. The OCAs work in a
       transport requests received from the    network to distribute updates among each other and to include further OCAs to
       main server or from other relay         which updates and content can be sent. See Open Connect Overview, p. 5.
       servers and to transmit the modified
       transport request to selected target
       terminals from a set of target
       terminals identified in the transport
       request, wherein the modified
       transport request further includes
       addresses of further target terminals
       for which the recipient of the
       modified transport request is to act
       as relay server; and




                                                             7
                       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 8 of 30




[1h]   wherein data to be retrieved by said
       target terminals are divided into a
       series of packets for transmission to
       said target terminals and each of said   “What is TCP?
       terminals is adapted to communicate      TCP is the de-facto transport protocol on the Internet today and one of the core
       directly with said main server to        protocols of the Internet Protocol (IP) suite. It guarantees in-order, error-checked,
       acknowledge receipt of the last          delivery of all content sent from one network device to another. TCP employs
       packet of a series routed thereto.       retransmissions to ensure that no portion of the content is lost. To that end, TCP
                                                breaks content into packets. Each packet has a sequence number that identifies
                                                its relative ordering. The sender transmits packets to the receiver and expects
                                                acknowledgements for in-order, correctly received, packets. If any packet is
                                                detected as lost, it is retransmitted. TCP is responsible for re-arranging the
                                                received packets and delivering the content to the application without errors or
                                                data gaps.
                                                …

                                                Where does Netflix use TCP?
                                                Netflix uses TCP for internet streaming to send packets of data for video.
                                                Additionally, Netflix specifically looks at the number of TCP connections to
                                                determine internet speeds in accordance with testing of OCAs.


                                                On information and belief, Netflix’s terminals also communicate with the Main
                                                server to acknowledge receipt of the data packets.




                                                                8
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 9 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 10 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 11 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 12 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 13 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 14 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 15 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 16 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 17 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 18 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 19 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 20 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 21 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 22 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 23 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 24 of 30
Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 25 of 30
       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 26 of 30




                 Open Connect Overview

What is Netflix Open Connect?

Open Connect is the name of the global network that is responsible for delivering Netflix
TV shows and movies to our members world-wide. This type of network is typically
referred to as a “Content Delivery Network” or “CDN” because its job is to deliver
internet-based content (via HTTP/HTTPS) efficiently by bringing the content that people
watch close to where they’re watching it. The Open Connect network shares some
characteristics with other CDNs, but also has some important differences.

Netflix began the Open Connect initiative in 2011, as a response to the ever-increasing
scale of Netflix streaming. We started the program for two reasons:

   1) As Netflix grew to be a significant portion of overall traffic on consumer Internet
      Service Provider (ISP) networks, it became important to be able to work with
      those ISPs in a direct and collaborative way.
   2) Creating a content delivery solution customized for Netflix allowed us to design a
      proactive, directed caching solution that is much more efficient than the standard
      demand-driven CDN solution, reducing the overall demand on upstream network
      capacity by several orders of magnitude.

Several years in, we are constantly learning - adjusting and evolving the program to
ensure that our members continue to have a consistently high quality video experience
from wherever they are in the world.

The overall mission of the program is to enable ISPs to provide a great Netflix
experience for our mutual customers. We further this goal by localizing Netflix traffic as
close as possible to our members, limiting the network and geographical distances that
our video bits must travel during playback. This of course benefits Netflix members, but
it also benefits ISPs and internet users in general. In short, we invest in efficiency
       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 27 of 30

innovations and increasing the capacity of the internet to support playback requests for
Netflix content - so that others don’t have to.



Open Connect Appliances

The building blocks of Open Connect are our suite of purpose-built server appliances,
called Open Connect Appliances (OCAs). These appliances store encoded video/image
files and serve these files via HTTP/HTTPS to client devices (for example: set top
boxes, mobile devices, or smart TVs). OCAs have the sole responsibility of delivering
playable bits to client devices as fast as possible.

As with all facets of the Open Connect program, appliance design continues to expand
and improve over time to keep up with our current and future needs. We are involved in
the development of all layers of the software stack, and we make both the hardware
design and the software available via open source for others to benefit from.



Our global network of thousands of OCAs are deployed in two ways:



   1. We install OCAs within internet exchange points (referred to as IXs or IXPs) in
      significant Netflix markets throughout the world. These OCAs are interconnected
      with mutually-present ISPs via settlement-free public or private peering (SFI).
      Peering alone can be very beneficial to our ISP partners.
       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 28 of 30

   2. We provide OCAs free of charge to qualifying ISPs. These OCAs, with the same
      capabilities as the OCAs that are in the IXPs, are deployed directly inside ISP
      networks. We provide the server hardware and the ISPs provide power, space,
      and connectivity. ISPs directly control which of their customers are routed to their
      embedded OCAs. ISP partners with embedded OCAs also use peering for
      resiliency and to enable efficient nightly fill and updates, described later.




Each individual OCA deployment site is custom tailored by the Open Connect team
based on local network characteristics and other key capacity planning factors. After we
deploy OCAs to a site, we constantly measure and analyze their performance and
augment capacity as requirements evolve.



Interaction with Client Devices and Netflix AWS Services

OCAs do not store client data (for example - viewing history, DRM info, or member
data). Essentially, OCA servers only do the following two things:

   ● Report their status to the Open Connect control plane services in Amazon Web
     Services (AWS). For example, they report health metrics, BGP routes they have
     learned from the BGP peer (router or switch) they have a configured BGP
     session with, and what files they have stored on disk.

   ● Serve content via HTTP/HTTPS when it is requested by a client device.

The control plane services in AWS take the data that the OCAs report and use it to steer
clients via URL to the most optimal OCAs given their file availability, health, and network
       Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 29 of 30

proximity to the client. The control plane services also control fill behavior (adding new
files to OCAs nightly), compute optimal behavior for such things as file storage/hashing,
and handle the storage and interpretation of relevant telemetry about the playback
experience.

Open Connect also partners extensively with Netflix client teams to ensure that the
content that is served by the OCAs is optimized dynamically by each client device
based on its specific needs and the current network conditions.




The following diagram illustrates how the playback process works:




   1. OCA’s periodically report health, routes they have learned, and content (file)
      availability to the cache control services in AWS.

   2. A user on a client device requests playback of a title (TV show or movie) from the
      Netflix application in AWS.

   3. The playback application services in AWS check user authorization and
      licensing, then determine which specific files are required to handle the playback
      request - taking individual client characteristics and current network conditions
      into account.
        Case 6:21-cv-00947-ADA Document 1-3 Filed 09/13/21 Page 30 of 30

    4. The steering service in AWS uses the information stored by the cache control
       service to pick OCAs that the requested files should be served from, generates
       URLs for these OCAs, and hands the URLs over to the playback application
       services.

    5. The playback application services hand over URLs of the appropriate OCAs to
       the client device, and the OCA begins to serve the requested files.


Monitoring, Maintenance, and Updates

All of our OCA deployments, whether in IXPs or embedded in ISP networks, are
constantly monitored by the Open Connect Operations team to ensure reliability and
efficiency. We troubleshoot and proactively fix most issues remotely with minimal input
required from our ISP partners. If partners wish to monitor their own embedded OCAs’
status and performance, we provide a Partner Portal where they can do so. If hardware
performance degrades to the point where a server is no longer functioning in the range
of our quality standards, we simply replace it - at no cost to our partners.

We have the somewhat unique benefit of being able to deploy the majority of our
content and software updates proactively during off-peak fill windows. Because we can
predict with high accuracy what our members will watch and what time of day they will
watch it, we make use of non-peak bandwidth to download the vast majority of content
updates to the OCAs in our network during these configurable time windows. OCAs can
also download updates from each other - minimizing significant usage of internet
“backbone” capacity during the update cycle.

We use ever-evolving popularity algorithms and storage techniques in the control plane
services to ensure that our content is distributed in ways that maximize offload efficiency
and quality of experience, while minimizing churn in the form of updates to the content
that is stored on the appliances.


More Information
For more information about Open Connect, see:

    ● The Open Connect website
    ● Open Connect articles on the Netflix Tech Blog
    ● Open Connect articles on the Netflix Media Center

Copyright © 2016, 2019 by Netﬂix, Inc. All rights reserved. No part of this document may be reproduced or
transmitted in any form or by any means, electronic or mechanical, including photocopying and recording,
or by any information storage or retrieval system, without express permission from Netﬂix, Inc.
